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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                    Case No. 14-40005-DDC

MICHELLE REULET (3),
TERRIE ADAMS (6), and
CRAIG BROOMBAUGH (10),

       Defendants.


                                MEMORANDUM AND ORDER

       This case comes before the Court on the government’s Motion to Reconsider and/or

Clarify Court’s Order Dated January 11, 2016 (Doc. 607).

       First, the government seeks clarification whether one sentence in the Court’s previous

Order (Doc. 602) applies to all witnesses or just the expert witnesses. See Doc. 602 at 5 (“The

Court holds that no witness—whether for the government or defense—may testify that a drug in

question is or is not an analogue drug.”). The Court clarifies that its Order ruled that no expert

witness may testify that a drug in question is or is not an analogue drug. The sentence

questioned by the government’s motion was under a heading ruling on the government’s limine

motion objecting to expert opinions. And the sentence before the sentence at issue now

summarized that the government had sought “to exclude defense expert opinions” on this topic.

Id. In context, the Court’s ruling was a limited one and the Court did not anticipate the

confusion that the government now expresses. But to avoid any future confusion, the Court now

explains that its in limine ruling addressed expert witnesses only. As a result, the government’s




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arguments that this ruling impermissibly precludes evidence about defendants’ knowledge are

now moot.

       Next, the government asserts that the Court raised this issue sua sponte and claims that

the ruling is clear error. The Court respectfully disagrees. The Court addressed the issue of

expert testimony concluding whether something was an “analogue drug” because the

government had moved the Court to exclude defendants’ experts’ testimony on this exact

subject. See Doc. 535 at 11 (arguing that defense experts should not “be allowed to render

opinions about whether a drug is or is not an analogue drug”). And, for the reasons explained

below, the Court stands behind its decision to disallow such expert testimony.

       The government also stresses that, even if applicable only to expert witnesses, the Court’s

ruling contradicts the prior Daubert rulings and should be reconsidered. The government

disagrees with the Court’s determination that expert testimony that a given drug is an “analogue

drug” would usurp the jury’s role of applying the law to the facts. And it points to the Court’s

previous Daubert ruling allowing testimony about “substantial similarity,” which, in part, stated

“whether a particular substance qualifies as a controlled substance analogue is a question of

fact.” Doc. 546 at 19. The government also analogizes this issue to the Court’s determination

that experts may opine whether something is “counterfeit.” The Court disagrees with the

government’s analysis and analogy, so it explains again, this time in more detail, why such

expert testimony will not be allowed.

       Until its ruling on January 11, the Court had not ruled whether expert testimony

concluding that a drug was or was not an analogue drug was admissible. The Court previously

undertook an analysis whether an expert may opine that a drug is substantially similar or




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counterfeit. And a similar analysis led the Court to the ruling raised by the government’s

motion—that an expert may not opine that a drug is or is not a controlled substance analogue.

        “Generally, an expert may not . . . state legal conclusions drawn by applying the law to

the facts.” Christiansen v. City of Tulsa, 332 F.3d 1270, 1283 (10th Cir. 2003) (quoting Okland

Oil Co., 144 F.3d at 1328). “[T]estimony which articulates and applies the relevant law . . .

circumvents the jury’s decision making function by telling it how to decide the case.” Specht v.

Jensen, 853 F.2d 805, 808 (10th Cir. 1988). Rule 704 authorizes testimony on ultimate facts, but

disfavors testimony “that articulates and applies the relevant law.” Id. The line between legal

conclusion testimony and factual testimony is not always a bright one, however, because expert

opinions often utilize aspects of both fact and law. See 29 Charles A. Wright & Victor J. Gold,

Federal Practice & Procedure § 6284 (1997) (internal quotation marks omitted).1 And, when

expert opinions mix fact and law, admissibility turns on “whether the opinion will assist the trier

of fact to understand the evidence or determine a fact in issue. . . . Thus the admissibility of

opinion testimony that may involve legal conclusions ultimately rests upon whether that

testimony helps the jury resolve the fact issues in the case.” Id.

        Here, expert testimony concluding that the substances at issue are or are not “analogue

drugs” presents an opinion mixing law and fact. The government has charged defendants with

knowingly and intentionally distributing controlled substance analogues in violation of 21 U.S.C.


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  This treatise cites two cases to support this proposition. In Estes v. Moore, the court did not allow expert
opinion testimony about whether probable cause existed, holding that “while the existence of probable
cause is a mixed question of law and fact, the ultimate conclusion is a question of law. . . . The proposed
testimony was, therefore, not opinion testimony but rather it was a statement of a legal conclusion.” Estes
v. Moore, 993 F.2d 161, 163 (8th Cir. 1993). Hanson v. Waller explains that Rule 704 does not “totally
dispel the confusion over the admissibility of expert opinions arguably amounting to conclusion[s] of
law,” and cites cases which had to draw the line between admissible opinions and legal conclusions. 888
F.2d 806, 812 (11th Cir. 1989). See also Owen v. Kerr-McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983)
(“The task of separating impermissible questions which call for overbroad or legal responses from
permissible questions is not a facile one.”).

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§ 841. And “controlled substance analogue” is a legal term, defined by statute. See 21 U.S.C. §

802(32)(A). The Court previously stated that “whether a substance qualifies as a controlled

substance analogue is a question of fact.” See Doc. 546 at 19. This is so. To return a verdict,

the jury must decide whether a substance at issue in this trial is a controlled substance analogue.

The jury will make this determination by evaluating the evidence to decide whether the

substance’s chemical structure is “substantially similar” to that of a controlled substance (prong

1), and: (a) whether the substance’s effect on the central nervous system is “substantially similar

to or greater than” the effect of a controlled substance; or (b) if a relevant person has represented

or intended for the substance to affect the central nervous system in a manner “substantially

similar to or greater than” the effect of a controlled substance (prong 2). In doing so, the jury

will do what juries customarily do in criminal cases: decide whether the facts (as the jury finds

them) establish every element of the crime charged under the Analogue Act, as the Court’s

Instructions define that crime. To opine that a particular substance is (or is not) a controlled

substance analogue would require the expert witness to apply the legal definition to facts

determined (or assumed as true) by the expert. This outcome leads the Court to the next level of

the analysis—would such testimony help the jury resolve the fact issues in the case? See 29

Charles A. Wright & Victor J. Gold, Federal Practice & Procedure § 6284.

       The government points out that expert opinion testimony that the drugs examined are

controlled substance analogues does not tell the jury how to decide the ultimate question of

law—i.e. whether defendants knowingly and intentionally distributed controlled substance

analogues. But, it does decide the facts about substantial similarity and apply those facts to the

legal definition of a controlled substance analogue. The Court concludes that such opinions are

inadmissible.



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       The Federal Rules of Evidence “do not . . . allow an expert to offer testimony that merely

tells the jury what result they should reach.” See United States v. Simpson, 7 F.3d 186, 188 (10th

Cir. 1993). And the Rules also do not allow “testimony phrased in terms of ‘inadequately

explored legal criteria.’” Id.; see also Fed. R. Evid. 704 advisory committee’s notes (1972).

Courts often exclude such testimony because it states legal conclusions or usurps the function of

the jury in deciding the facts.” Simpson, 7 F.3d at 188. The advisory committee’s notes provide

a useful example: The Court should exclude a question asking if a person had “capacity to make

a will.” Fed. R. Evid. 704 advisory committee’s notes (1972). But, if the question is worded in

terms of whether the person “had sufficient mental capacity to know the nature and extent of his

property,” the Court should allow the question. Id. The first question should be excluded

because it “is phrased in such broad terms that it could as readily elicit a legal as well as a fact

based response,” supplying the jury with the expert’s view of what result the jury should reach.

Owen, 698 F.2d at 240.

       Following this guidance from the advisory committee, questions put to qualified experts

that ask, “Is the substance examined substantially similar in chemical structure to a controlled

substance?” seek properly admissible evidence. A qualified expert may opine about the factual

criteria the statute adopts and the Court, at the end of the trial, will instruct the jury how to apply

the law’s definition of controlled substance analogue to the facts, as the jury finds them. But

questions that ask, “Is this a controlled substance analogue?” elicit a legal based response and

impermissibly tell the jury what result to reach.

       “When an expert undertakes to tell the jury what result to reach, this does not aid the jury

in making a decision, but rather attempts to substitute the expert’s judgment for the jury’s. When

this occurs, the expert acts outside of his limited role of providing the groundwork in the form of



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an opinion to enable the jury to make its own informed determination.” United States v. Bates,

No. 1:11-cr-00123-BLW, 2012 WL 1579590, at *1 (D. Idaho May 4, 2012). Thus, an expert can

testify to the extent outlined in more detail here, but “should avoid legal conclusions, which

usurp[] the jury’s role.” Id. (citing Aguilar v. Int’l Longshoremen’s Union Local No. 10, 966

F.2d 443, 447 (9th Cir. 1992)); see also United States v. Rich, 145 F. App’x 486, 488 (5th Cir.

2005) (explaining that expert testimony stating legal conclusions about ultimate issues is

inadmissible).

       Here, the Court will not allow expert testimony that a drug is or is not a controlled

substance analogue because such opinions are not helpful to the jury. Naturally, the experts may

provide the groundwork to enable the jurors to make their own determination about this question,

e.g., the experts may opine about substantial similarity. But, the parties may not take the next

step and ask the experts to testify to the conclusion that a substance is or is not a controlled

substance analogue. To testify to such a conclusion, the experts would have to examine and

weigh other experts’ conclusions about similarity under each prong, make a factual

determination whether substantial similarity existed, and apply the legal definition to those facts.

The jury is equally capable of weighing the expert opinions, deciding if substantial similarity

exists under both prongs of the controlling statute, and then concluding whether a drug is a

controlled substance analogue under the statute. The Court has concluded that expert opinions of

this nature would not be helpful because they would not help the jury understand the evidence or

determine facts in issue (i.e. whether there is substantial similarity or not). Instead of helping the

jury resolve the fact issues, they attempt to decide those issues for the jury.

       The government contends that these expert opinions should be allowed because in “street

drug” cases courts admit expert testimony “that a drug is cocaine” and “testimony that cocaine is



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a controlled substance.” Doc. 607 at 5. But, this is not just a controlled substance case about

“street drugs” with defined scientific meanings.

       Analogue drug cases have an added layer of complexity that does not exist in controlled

substance cases. A controlled substance is a drug explicitly listed on a schedule in the statute.

See 21 U.S.C. 802(6). Cocaine, for example, explicitly is listed as a Schedule II drug. See 21

U.S.C. § 812. Cocaine has a specific, scientifically determined meaning, and a qualified scientist

can conduct scientific tests to determine whether a substance contains cocaine. But no scientific

test exists to reach a universally accepted conclusion that a substance is or is not a controlled

substance analogue. Instead, the jury must hear the evidence, find the facts as it chooses to find

them, and decide whether those facts establish that a substance has a substantially similar

chemical structure to a controlled substance and has, or was represented to have, a substantially

similar pharmacological effect to a controlled substance. See 21 U.S.C. 802(32)(A). While an

expert can say that a drug is cocaine and that cocaine is a controlled substance listed on a

schedule approved by Congress, a controlled substance analogue case requires a different and

less formulaic analysis. It is the jury’s job to determine whether the evidence establishes facts,

which, under the analysis that the statute requires, make a substance a controlled substance

analogue. Opinions about substantial similarity will aid the jury in making this determination;

opinion testimony that a substance is or is not a controlled substance analogue will not.

       A pretrial and in limine conference is scheduled for January 15, 2016 at 2:00 p.m. All

remaining pretrial matters will be determined at this conference. The Court reminds the parties

that its limine rulings are provided to help the parties understand the Court’s view of permissible

evidence to aid in their preparations, but are subject to change as the trial unfolds.




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       IT IS THEREFORE ORDERED BY THE COURT THAT the government’s Motion

to Reconsider and/or Clarify Court’s Order Dated January 11, 2016 (Doc. 607) is granted in part

and denied in part, as set forth in this Order.

       IT IS SO ORDERED.

       Dated this 14th day of January, 2016, at Topeka, Kansas.


                                                      s/ Daniel D. Crabtree
                                                      Daniel D. Crabtree
                                                      United States District Judge




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